            Case 1:21-cr-00175-TJK Document 29 Filed 03/12/21 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                             :
                                                     :
              v.                                     :      Case No. 21-cr-175 (TJK)
                                                     :
ETHAN NORDEAN,                                       :
also known as “Rufio Panman,”                        :      UNDER SEAL
                                                     :
                   Defendant.                        :

               EX PARTE MOTION TO CONTINUE THE ARRAIGNMENT

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this ex parte Motion to Continue the Arraignment.

The bases for this motion are as follows:

       1.      On March 3, 2021, a federal grand jury sitting in the District of Columbia returned

an Indictment charging Defendant with Obstruction of an Agency Proceeding, in violation of Title

18, United States Code, Sections 1512(c)(2), and 2; Destruction of Property in violation of Title

18 United States Code, Sections 1361, and 2; Entering and Remaining in a Restricted Building or

Grounds, in violation of 18 U.S.C. § 1752(a)(1); and Disorderly and Disruptive Conduct in a

Restricted Building or Grounds, in violation of 18 U.S.C. § 1752(a)(2). (Docket Entry 24).

       2.      On March 8, 2021, the Court scheduled a hearing for March 16, 2021, in order to

arraign Defendant on that indictment.

       3.      On March 10, 2021, a federal grand jury sitting in the District of Columbia returned

a Superseding Indictment charging Defendant, and three co-defendants (two of whom were not

previously charged), with Conspiracy, in violation of 18 U.S.C. § 371; Obstruction of an Agency

Proceeding, in violation of 18 U.S.C. §§ 1512(c)(2), and 2; Obstructing Law Enforcement During

a Civil Disorder, in violation of 18 U.S.C. §§ 231(a)(3), and 2; 18 U.S.C. §§ 1361, and 2; Entering
            Case 1:21-cr-00175-TJK Document 29 Filed 03/12/21 Page 2 of 3




and Remaining in a Restricted Building or Grounds, in violation of 18 U.S.C. § 1752(a)(1); and

Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation of 18 U.S.C.

§ 1752(a)(2).

       4.       The Superseding Indictment is under seal, pending the arrest of newly charged

defendants and the execution of search warrants. Law Enforcement anticipates executing the

arrests and search warrants of the new defendants in a coordinated operation on Wednesday, March

17, 2021. Once the arrests are executed, the Superseding Indictment will be unsealed.

       5.       Because the initial indictment charging the Defendant has now been superseded, it

is no longer necessary to arraign the Defendant on the initial charges. To ensure that the

Defendant and others are not made aware of the existence of the Superseding Indictment until the

arrest and search warrants are executed, the United States respectfully requests that the scheduled

arraignment be continued until a date after March 17, 2021.

       6.       The United States is submitting this motion and accompanying proposed order ex

parte and under seal to ensure that the Defendant and others are not made aware of the existence

of the Superseding Indictment at this time. The United States requests that this motion and the

proposed order remain sealed and ex parte until the Superseding Indictment is unsealed, at which

time the motion and proposed order may be unsealed and filed on the public docket. The United

States likewise requests that, if the Court grants this motion, any order continuing the arraignment

not reference this motion or the Superseding Indictment.




                                                    2
Case 1:21-cr-00175-TJK Document 29 Filed 03/12/21 Page 3 of 3




                              Respectfully submitted,

                              CHANNING D. PHILLIPS
                              Acting United States Attorney
                              D.C. Bar No. 415793

                        By:    /s/ James B. Nelson
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                                3
